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                                 CLERK'S MINUTES OF HEARING

                            HEARINGS BEFORE: US MAGISTRATE JUDGE W. DANIEL SCHNEIDER

                            KIND OF HEARING:

DEFENDANTS:                                             Clerk: M Kokesh

CATHY FITZGERALD                                        CASE NO. 05-1849 JH

                                                        DATE: June 14, 2007

NAMES AND TITLES OF OTHER PARTICIPANTS:

James Braun AUSA                                        Cliff McIntyre Ret-CJA-AFPD


Sandra Avila-Toledo PTS/PROB                     Interpreter


 TAPE NO.          SPEAKER                         TAPE NO.          SPEAKER

FTR Gila
@ 9:36 am            Ct
                     Deft
                     Pltf
9:38 am              Ct

(2 minutes)

HEARING RESULTS/FINDINGS:

      Defendant waives Preliminary Hearing

      Defendant waives Detention Hearing

      Court finds probable cause.

      Defendant(s) in custody

      Conditions of Release set at:

      Other: Court revokes conditions of release and remands deft to custody of USMS
